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             EXHIBIT 12
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From: Mark [mailto:mark.vijay@thirumalaichemicals.com]

Sent: 17 January 2014 16:50

To: 'cgsTCL'

Subject: FW: Orthoxylene into India



Dear Sir,



I confirmed the order subject to their offering 90 days credit -- they were offering 60. (30 days at
13% interest works to about $15 per MT)

Since price has fallen, I believe they should accept for 90 days and close the deal -- but in case
they stay put, is it acceptable to renegotiate price using this as a handle, since there has been a
$ 10 - $ 25 fall in OX this week -- would like to know if that is okay/ correct.



Thanks,

Mark




                                                                                  THI 0000207
